                       Case 2:24-cv-00568-CB
                                 UNITED STATESDocument
                                               DISTRICT22  Filed 05/22/25
                                                        COURT                    Page 1 of 2
                          WESTERN DISTRICT OF PENNSYLVANIA

 NGBO BONNY E-HOME CO.,                            Case No. 2:24-cv-00568
         LTD.
                                                        RESPONSE

          Plaintiff,
              v.

ONDWAY, POOLCLEAN US
STORE, USA WAREHOUSE,
OWANJIE, INPOOL US STORE,
   DEWFOND, DIGIGER,
 OTOBUDDY STORE, and et al.
   Individual, Partnerships
        Defendants.


                       RESPONSE TO REQUEST IN ORDER ECH 19
  This Court has ordered in ECH 19 dated May 12, 2025, that Plaintiff's counsel shall
  file with the Court an affidavit indicating whether Plaintiff has brought any suit in this
  or any other Court against any Defendant in this case based on the patent at issue,
  regardless of whether said Defendant was dismissed. Plaintiff’s Counsel hereby
  responds:

     1. Below is a Declaration by Plaintiff’s Counsel stating that Plaintiff has not
        brought any suit in this or any Court based on the patent at issue.

     2. Counsel apologizes that this RESPONSE TO REQUEST IN ECH 19 is being
        filed later than the Court had requested. The delay in response was inadvertent.



  Dated: May 21, 2025,                           By: __/s/ Patricia Ray_______________
                                                 Attorney for Plaintiff
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  DECLARATION OF PATRICIA RAY CONCERNING RESPONSE TO
                              COURT REQUEST




I am Patricia Ray submitting this Declaration on behalf of Plaintiff as
requested by the Court in ECH 19:

   1. I, Patricia Ray, am over the age of 18 and am making this declaration
      concerning facts within my knowledge and to which I can testify if
      asked.

   2. I am a Pennsylvania attorney registered as Bar No. 31989 since 1980. I
      represent the Plaintiff in this case.

   3. I have not filed and am not aware of any other legal actions that have
      been filed on behalf of Plaintiff based on issues related to the patent in
      issue.

   4. I make these statements to the best of my knowledge concerning known
      facts and under the threat of perjury for false statements.

Dated: May 21, 2025,                                 By__/s/ Patricia Ray
